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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
Vv.
Crim No.: 17-232 (EGS)
MICHAEL T. FLYNN,

Defendant

 

ORDER
Upon consideration of Covington & Burling LLP’s Motion for Leave to File Notice
Regarding Transfer of Case File to New Counsel, it is hereby
ORDERED that the Motion is GRANTED; and it is further
ORDERED that Covington & Burling LLP’s Notice of Transfer of Case File to New
Counsel is deemed filed in the above-captioned proceeding.

SO ORDERED.

July 29, 2019 /s/ Emmet G. Sullivan
The Honorable Emmet G. Sullivan
United States District Judge

 

 
